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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA


 SYMBOLOGY INNOVATIONS, LLC,

                        Plaintiff,
                                                          C.A. No. ___________________
        v.

 NCL CORPORATION LTD.,                                    DEMAND FOR JURY TRIAL

                        Defendant.



                  ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

         1.     Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and through its

 counsel, hereby brings this action for patent infringement against NCL Corporation Ltd.

 (“Norwegian Cruise Line,” “Norwegian,” or “Defendant”) alleging infringement of the following

 validly issued patent (the “Patent-in-Suit”): U.S. Patent No. 8,424,752, titled “System and method

 for presenting information about an object on a portable electronic device” (the “’752 Patent”),

 attached hereto as Exhibit A.

                                     NATURE OF THE ACTION

         2.     This is an action for patent infringement arising under the United States Patent

 Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.

                                              PARTIES

         3.       Plaintiff Symbology Innovations, LLC is a Texas company with its principal

 place of business at 1400 Preston Road, Suite 400, Plano, TX 75093.

         4.     On information and belief, Defendant NCL Corporation Ltd. is headquartered at

 7665 Corporate Center Drive, Miami, FL 33126 and may be served via its registered agent Daniel

 S. Farkas at 7665 Corporate Center Drive, Miami, FL 33126.

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                                   JURISDICTION AND VENUE

         5.     This lawsuit is a civil action for patent infringement arising under the patent laws

 of the United States, 35 U.S.C. § 101 et seq. The Court has subject-matter jurisdiction pursuant to

 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.

         6.     The Court has personal jurisdiction over Defendant for the following reasons: (1)

 Defendant is present within or has minimum contacts within the State of Florida and the

 Southern District of Florida; (2) Defendant has purposefully availed itself of the privileges of

 conducting business in the State of Florida and this district; (3) Defendant has sought protection

 and benefit from the laws of the State of Florida; and (4) Defendant regularly conducts business

 within the State of Florida and within this district, and Plaintiff’s cause of action arises directly

 from Defendant’s business contacts and other activities in the State of Florida and in this district.

         7.     Defendant, directly and/or through intermediaries, ships, distributes, uses, offers

 for sale, sells, and/or advertises products and services in the United States, the State of Florida,

 and this district including but not limited to the products which contain the infringing ’752

 Patent systems and methods as detailed below. Upon information and belief, Defendant has

 committed patent infringement in the State of Florida and in this district; Defendant solicits and

 has solicited customers in the State of Florida and in this district; and Defendant has paying

 customers that are residents of the State of Florida and this district and that use and have used

 Defendant’s products and services in the State of Florida and in this district.

         8.     Venue is proper in the Southern District of Southern Florida pursuant to 28 U.S.C.

 §§ 1400(b). Defendant is headquartered in this district, has a regular and established place of

 business in this district, has transacted business in this district, and has directly and/or indirectly

 committed acts of patent infringement in this district.




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                                        PATENT-IN-SUIT

         9.     The Patent-in-Suit teaches systems and methods for enabling a portable electronic

 device (e.g., smartphone) to retrieve information about an object when the object’s symbology

 (e.g. QR code) is detected.

         10.    The invention disclosed in the Patent-in-Suit discloses inventive concepts that

 represent significant improvements in the art and are not mere routine or conventional uses of

 computer components.

                                     ACCUSED PRODUCTS

         11.    Defendant makes, uses, offers for sale and sells in the U.S. products, systems,

 and/or services that infringe the Patent-in-Suit, including, but not limited to certain products and

 services implementing QR code functionality as described in the Patent-in-Suit (collectively, the

 “Accused Products”).

                                               COUNT I
                        (Direct Infringement of U.S. Patent No. 8,424,752)
         12.    Plaintiff incorporates by reference the allegations of paragraphs 1-11, the same as if
 set forth herein.
         13.    The ’752 Patent is valid, enforceable, and was duly and legally issued by the United
 States Patent and Trademark Office (“USPTO”) on April 23, 2013. The ’752 Patent is presumed
 valid and enforceable. See 35 U.S.C. § 282.
         14.    Plaintiff is the owner by assignment of the ’752 Patent and possesses all rights of
 recovery under the ’752 Patent, including the exclusive right enforce the ’752 Patent and pursue
 lawsuits against infringers.
         15.    Without a license or permission from Symbology, Defendant has infringed and
 continues to infringe on one or more claims of the ’752 Patent by importing, making, using, offering
 for sale, or selling products and devices that embody the patented invention, including, without
 limitation, one or more of the patented ’752 systems and methods, in violation of 35 U.S.C. § 271.
         16.    Defendant has been and now is directly infringing by, among other things,



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 practicing all of the steps of the ’752 Patent, for example, through internal testing, quality
 assurance, research and development, and troubleshooting. See Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770,
 775 (Fed. Cir. 1993); see also 35 U.S.C. § 271 (2006). For instance, Defendant has directly infringed
 the Patent-in-Suit by testing, configuring, and troubleshooting the functionality of QR codes on
 its products and services.
         17.     By way of example, Defendant has infringed and continues to infringe at least one
 or more claims of the ’752 Patent, including at least Claim 1. Attached hereto as Exhibit B is an
 exemplary claim chart detailing representative infringement of claim 1 of the Patent-in-Suit.
                                            JURY DEMAND

          18.    Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by
 jury of any issues so triable by right.
                                       REQUEST FOR RELIEF

         19.     Symbology incorporates each of the allegations in the paragraphs above and
 respectfully asks the Court to:
         (a)     enter a judgment that Defendant has directly infringed one or more claims of each
                 of the ’752 Patent either literally and/or under the doctrine of equivalents;
         (b)     enter a judgment that Defendant account for and pay to Plaintiff all damages to and
                 costs incurred by Plaintiff because of Defendant’s infringing activities and other
                 conduct complained of herein, and an accounting of all infringements and damages
                 not presented at trial;
         (c)     enter a judgment that Plaintiff be granted pre-judgment and post-judgment
                 interest on the damages caused by Defendant’s infringing activities and other
                 conduct complained of herein;
         (d)     award Symbology all other relief that the Court may deem just and proper.




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 Dated: April 20, 2020                 Respectfully submitted,


                                       /s/ Howard L. Wernow
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                                       BOARD CERTIFIED IN INTELLECTUAL PROPERTY
                                       LAW BY THE FLORIDA BAR

                                       Attorney for Plaintiff
                                       Symbology Innovations, LLC




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